                                                                     B6 Summary (Form 6 - Summary) Case
                                                                                                   (12/07)          10-23633            Doc 19           Filed 07/01/10              Page 1 of 14
                                                                                                                                  United States Bankruptcy Court
                                                                                                                                       District of Maryland

                                                                     IN RE:                                                                                                                Case No. 10-23633
                                                                     Johnson, Teresa P                                                                                                     Chapter 11
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                      A - Real Property                                               Yes                          1 $       2,140,000.00


                                                                      B - Personal Property                                           Yes                          4 $           41,452.24


                                                                      C - Property Claimed as Exempt                                  Yes                          2
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                                                                      D - Creditors Holding Secured Claims                            Yes                          4                           $      2,660,378.10


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          1                           $                 0.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                          4                           $        184,191.08
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          1                                                     $         18,261.00
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                          1                                                     $         18,842.00
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      20 $        2,181,452.24 $           2,844,569.18
                                                                                                       Case
                                                                     Form 6 - Statistical Summary (12/07)     10-23633      Doc 19   Filed 07/01/10        Page 2 of 14
                                                                                                                       United States Bankruptcy Court
                                                                                                                            District of Maryland

                                                                     IN RE:                                                                                       Case No. 10-23633
                                                                     Johnson, Teresa P                                                                            Chapter 11
                                                                                                                Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                     If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §
                                                                     101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                       Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                     information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                        Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $

                                                                      Student Loan Obligations (from Schedule F)                                                        $

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $

                                                                                                                                                           TOTAL        $


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 16)                                                         $

                                                                      Average Expenses (from Schedule J, Line 18)                                                       $

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                      $

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                        $

                                                                      4. Total from Schedule F                                                                                          $

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                      $
                                                                     B6A (Official Form 6A) (12/07)        Case 10-23633                  Doc 19          Filed 07/01/10               Page 3 of 14
                                                                     IN RE Johnson, Teresa P                                                                                                 Case No. 10-23633
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     Single-family house at 10819 Wadsworth Road, Woodstock, MD                                                                                              400,000.00               506,596.44
                                                                     21136
                                                                     Single-family house at 1512 Ralworth Road, Baltimore, MD                                                                                                152,000.00               134,975.00
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                                                                     21218
                                                                     Single-family house at 1621 Latrobe Street, Baltimore, MD                                                                                                 65,000.00                  63,540.31
                                                                     21202
                                                                     Single-family house at 2337 Calvert Street, Baltimore, MD 21218                                                                                         275,000.00               335,999.50
                                                                     Single-family house at 3604 Cameron Court, Ellicott City, MD                                                                                            900,000.00             1,276,460.00
                                                                     21042
                                                                     Single-family house at 700 Kevin Road, Baltimore, MD 21229                                                                                              142,000.00               129,994.00
                                                                     Single-family house at 806 Central Avenue, Baltimore, MD                                                                                                  68,000.00                  79,145.00
                                                                     21202
                                                                     Single-family house at 916 August Avenue, Baltimore, MD 21229                                                                                           138,000.00               117,344.85




                                                                                                                                                                                      TOTAL                                2,140,000.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                     B6B (Official Form 6B) (12/07)        Case 10-23633                 Doc 19           Filed 07/01/10               Page 4 of 14
                                                                     IN RE Johnson, Teresa P                                                                                                Case No. 10-23633
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                                   Currency                                                                                                                      220.00
                                                                        2. Checking, savings or other financial            Point Breeze Credit Union checking acount no. xx6463                                                                          850.00
                                                                           accounts, certificates of deposit or            Transportation Credit Union checking account no. xxx2140                                                                        97.24
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                19" television                                                                                                                  20.00
                                                                           include audio, video, and computer              36" television                                                                                                                  40.00
                                                                           equipment.
                                                                                                                           Armoire                                                                                                                       100.00
                                                                                                                           Armoire                                                                                                                         75.00
                                                                                                                           Artificial plants                                                                                                               15.00
                                                                                                                           Blender                                                                                                                          5.00
                                                                                                                           Chair                                                                                                                         100.00
                                                                                                                           Chairs (2)                                                                                                                      50.00
                                                                                                                           Condenser                                                                                                                       60.00
                                                                                                                           Couch                                                                                                                         125.00
                                                                                                                           Couch                                                                                                                         125.00
                                                                                                                           Couch and ottoman                                                                                                             150.00
                                                                                                                           Counter stools (6)                                                                                                              90.00
                                                                                                                           Day bed                                                                                                                         75.00
                                                                                                                           Desk                                                                                                                            35.00
                                                                                                                           Dressers (2)                                                                                                                  150.00
                                                                                                                           File cabinets (2)                                                                                                               60.00
                                                                                                                           Flat screen TV (36")                                                                                                          125.00
                                                                                                                           Flat screen TV (36")                                                                                                          125.00
                                                                                                                           Flat screen TV (52")                                                                                                          100.00
                                                                                                                           Kitchen utensils                                                                                                                 5.00
                                                                                                                           Lamps (3)                                                                                                                       12.00
                                                                                                                           Lounge chair                                                                                                                    75.00
                                                                                                                           Microwave oven                                                                                                                  35.00
                                                                                                                           Mixer                                                                                                                            5.00
                                                                                                       Case
                                                                     B6B (Official Form 6B) (12/07) - Cont.         10-23633         Doc 19        Filed 07/01/10           Page 5 of 14
                                                                     IN RE Johnson, Teresa P                                                                                        Case No. 10-23633
                                                                                                                             Debtor(s)                                                                               (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                                    HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                             CURRENT VALUE OF
                                                                                                                     N                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                                       PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                          DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                         DEDUCTING ANY
                                                                                                                     E                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                                 EXEMPTION




                                                                                                                         Night stands (2)                                                                                                 20.00
                                                                                                                         Night table                                                                                                      10.00
                                                                                                                         Office chairs (3)                                                                                                50.00
                                                                                                                         Ottoman                                                                                                          50.00
                                                                                                                         Ottoman                                                                                                          50.00
                                                                                                                         Post bed                                                                                                       150.00
                                                                                                                         Potted plants                                                                                                    10.00
                                                                                                                         Queen sized bed                                                                                                100.00
                                                                                                                         Refrigerator                                                                                                   150.00
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                                                                                                                         Stove                                                                                                          300.00
                                                                                                                         Table with 6 chairs                                                                                            125.00
                                                                                                                         Toaster                                                                                                           5.00
                                                                       5. Books, pictures and other art objects,         African american pictures (15)                                                                                 300.00
                                                                          antiques, stamp, coin, record, tape,
                                                                          compact disc, and other collections or
                                                                          collectibles.
                                                                       6. Wearing apparel.                               Clothing                                                                                                         10.00
                                                                       7. Furs and jewelry.                         X
                                                                       8. Firearms and sports, photographic,        X
                                                                          and other hobby equipment.
                                                                       9. Interest in insurance policies. Name      X
                                                                          insurance company of each policy and
                                                                          itemize surrender or refund value of
                                                                          each.
                                                                      10. Annuities. Itemize and name each          X
                                                                          issue.
                                                                      11. Interests in an education IRA as          X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or             United States Civil Service Retirement System                                                                     0.00
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated            Ms. Renovator, LLC (100%)                                                                                      126.00
                                                                          and unincorporated businesses.                 TVAN Mortgage Solutions, LLC (100%)                                                                          2,079.00
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint        X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and        X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                      X
                                                                                                       Case
                                                                     B6B (Official Form 6B) (12/07) - Cont.          10-23633        Doc 19      Filed 07/01/10          Page 6 of 14
                                                                     IN RE Johnson, Teresa P                                                                                     Case No. 10-23633
                                                                                                                             Debtor(s)                                                                            (If known)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                                 HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                    OR COMMUNITY
                                                                                                                                                                                                                          CURRENT VALUE OF
                                                                                                                      N                                                                                                  DEBTOR'S INTEREST IN
                                                                                                                      O                                                                                                   PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                       DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                                     DEDUCTING ANY
                                                                                                                      E                                                                                                   SECURED CLAIM OR
                                                                                                                                                                                                                              EXEMPTION




                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor           2006 Federal Income Tax Refund                                                                         22,592.00
                                                                          including tax refunds. Give                     2006 Maryland Income Tax Refund                                                                          8,551.00
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                                                                     X
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                                                                      20. Contingent and noncontingent
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and              2002 Hyundai Elantra                                                                                       525.00
                                                                          other vehicles and accessories.                 2002 Mercedes Benz 240                                                                                   2,925.00
                                                                      26. Boats, motors, and accessories.            X
                                                                      27. Aircraft and accessories.                  X
                                                                      28. Office equipment, furnishings, and              Computers (2)                                                                                              150.00
                                                                          supplies.                                       Copier/scanner/fax machine                                                                                 250.00
                                                                      29. Machinery, fixtures, equipment, and        X
                                                                          supplies used in business.
                                                                      30. Inventory.                                 X
                                                                      31. Animals.                                   X
                                                                      32. Crops - growing or harvested. Give         X
                                                                          particulars.
                                                                      33. Farming equipment and implements.          X
                                                                      34. Farm supplies, chemicals, and feed.        X
                                                                                                       Case
                                                                     B6B (Official Form 6B) (12/07) - Cont.     10-23633       Doc 19    Filed 07/01/10           Page 7 of 14
                                                                     IN RE Johnson, Teresa P                                                                              Case No. 10-23633
                                                                                                                       Debtor(s)                                                                                (If known)

                                                                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                                                            (Continuation Sheet)




                                                                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                                        CURRENT VALUE OF
                                                                                                                 N                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                 O                                                                                                      PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                 DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                 N                                                                                                        DEDUCTING ANY
                                                                                                                 E                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                            EXEMPTION




                                                                      35. Other personal property of any kind   X
                                                                          not already listed. Itemize.
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                                                                                                                                                                                         TOTAL                                 41,452.24
                                                                                                                                                                    (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                    Report total also on Summary of Schedules.)
                                                                     B6C (Official Form 6C) (04/10)       Case 10-23633                Doc 19         Filed 07/01/10              Page 8 of 14
                                                                     IN RE Johnson, Teresa P                                                                                          Case No. 10-23633
                                                                                                                               Debtor(s)                                                                          (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $146,450. *
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                        11 U.S.C. § 522(b)(3)
                                                                                                                                                                                                                      CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED           OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                       EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Currency                                                     ACM, C & JP § 11-504(b)(5)                                            220.00                     220.00
                                                                     Point Breeze Credit Union checking acount ACM, C & JP § 11-504(b)(5)                                                               850.00                     850.00
                                                                     no. xx6463
                                                                     Transportation Credit Union checking                         ACM, C & JP § 11-504(b)(5)                                              97.24                     97.24
                                                                     account no. xxx2140
                                                                     19" television                                               ACM, C & JP § 11-504(f)                                                 20.00                     20.00
                                                                     36" television                                               ACM, C & JP § 11-504(b)(4)                                              25.00                     40.00
                                                                                                                                  ACM, C & JP § 11-504(f)                                                 15.00
                                                                     Armoire                                                      ACM, C & JP § 11-504(b)(4)                                            100.00                     100.00
                                                                     Armoire                                                      ACM, C & JP § 11-504(f)                                                 75.00                     75.00
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                                                                     Artificial plants                                            ACM, C & JP § 11-504(f)                                                 15.00                     15.00
                                                                     Blender                                                      ACM, C & JP § 11-504(f)                                                  5.00                      5.00
                                                                     Chair                                                        ACM, C & JP § 11-504(b)(4)                                            100.00                     100.00
                                                                     Chairs (2)                                                   ACM, C & JP § 11-504(f)                                                 50.00                     50.00
                                                                     Condenser                                                    ACM, C & JP § 11-504(b)(4)                                              60.00                     60.00
                                                                     Couch                                                        ACM, C & JP § 11-504(f)                                               125.00                     125.00
                                                                     Couch                                                        ACM, C & JP § 11-504(f)                                               125.00                     125.00
                                                                     Couch and ottoman                                            ACM, C & JP § 11-504(f)                                               150.00                     150.00
                                                                     Counter stools (6)                                           ACM, C & JP § 11-504(f)                                                 90.00                     90.00
                                                                     Day bed                                                      ACM, C & JP § 11-504(b)(4)                                              75.00                     75.00
                                                                     Desk                                                         ACM, C & JP § 11-504(b)(4)                                              35.00                     35.00
                                                                     Dressers (2)                                                 ACM, C & JP § 11-504(b)(4)                                            150.00                     150.00
                                                                     File cabinets (2)                                            ACM, C & JP § 11-504(b)(4)                                              60.00                     60.00
                                                                     Flat screen TV (36")                                         ACM, C & JP § 11-504(b)(4)                                            125.00                     125.00
                                                                     Flat screen TV (36")                                         ACM, C & JP § 11-504(f)                                               125.00                     125.00
                                                                     Flat screen TV (52")                                         ACM, C & JP § 11-504(f)                                               100.00                     100.00
                                                                     Kitchen utensils                                             ACM, C & JP § 11-504(f)                                                  5.00                      5.00
                                                                     Lamps (3)                                                    ACM, C & JP § 11-504(f)                                                 12.00                     12.00
                                                                     Lounge chair                                                 ACM, C & JP § 11-504(f)                                                 75.00                     75.00
                                                                     Microwave oven                                               ACM, C & JP § 11-504(f)                                                 35.00                     35.00
                                                                     Mixer                                                        ACM, C & JP § 11-504(f)                                                  5.00                      5.00
                                                                     Night stands (2)                                             ACM, C & JP § 11-504(b)(4)                                              20.00                     20.00
                                                                     Night table                                                  ACM, C & JP § 11-504(f)                                                 10.00                     10.00
                                                                     Office chairs (3)                                            ACM, C & JP § 11-504(b)(4)                                              50.00                     50.00
                                                                     Ottoman                                                      ACM, C & JP § 11-504(b)(4)                                              50.00                     50.00
                                                                     Ottoman                                                      ACM, C & JP § 11-504(f)                                                 50.00                     50.00
                                                                     Post bed                                                     ACM, C & JP § 11-504(b)(4)                                            150.00                     150.00
                                                                     Potted plants                                                ACM, C & JP § 11-504(f)                                                 10.00                     10.00
                                                                     Queen sized bed                                              ACM, C & JP § 11-504(f)                                               100.00                     100.00
                                                                     Refrigerator                                                 ACM, C & JP § 11-504(f)                                               150.00                     150.00


                                                                     * Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                       Case
                                                                     B6C (Official Form 6C) (04/10) - Cont.   10-23633     Doc 19         Filed 07/01/10              Page 9 of 14
                                                                     IN RE Johnson, Teresa P                                                                            Case No. 10-23633
                                                                                                                   Debtor(s)                                                                    (If known)

                                                                                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                                          (Continuation Sheet)

                                                                                                                                                                                                    CURRENT VALUE
                                                                                                                                                                            VALUE OF CLAIMED         OF PROPERTY
                                                                                   DESCRIPTION OF PROPERTY                     SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                               EXEMPTION          WITHOUT DEDUCTING
                                                                                                                                                                                                     EXEMPTIONS

                                                                     Stove                                           ACM, C & JP § 11-504(f)                                          300.00                   300.00
                                                                     Table with 6 chairs                             ACM, C & JP § 11-504(f)                                          125.00                   125.00
                                                                     Toaster                                         ACM, C & JP § 11-504(f)                                             5.00                     5.00
                                                                     African american pictures (15)                  ACM, C & JP § 11-504(f)                                          300.00                   300.00
                                                                     Ms. Renovator, LLC (100%)                       ACM, C & JP § 11-504(b)(5)                                       126.00                   126.00
                                                                     TVAN Mortgage Solutions, LLC (100%)             ACM, C & JP § 11-504(b)(5)                                      2,079.00                 2,079.00
                                                                     2006 Federal Income Tax Refund                  ACM, C & JP § 11-504(b)(5)                                        100.00                22,592.00
                                                                                                                     ACM, C & JP § 11-504(f)                                         2,000.76
                                                                     2002 Hyundai Elantra                            ACM, C & JP § 11-504(b)(5)                                       525.00                   525.00
                                                                     2002 Mercedes Benz 240                          ACM, C & JP § 11-504(b)(5)                                      2,002.76                 2,925.00
                                                                                                                     ACM, C & JP § 11-504(f)                                           922.24
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                                                                     B6G (Official Form 6G) (12/07)       Case 10-23633                   Doc 19           Filed 07/01/10               Page 10 of 14
                                                                     IN RE Johnson, Teresa P                                                                                                   Case No. 10-23633
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.

                                                                     Brink Alarm System                                                                       Alarm system for 2337 Calvert Street
                                                                     8880 Esters Blvd.
                                                                     Irving, TX 75063
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                                                                     B6H (Official Form 6H) (12/07)        Case 10-23633                   Doc 19           Filed 07/01/10               Page 11 of 14
                                                                     IN RE Johnson, Teresa P                                                                                                    Case No. 10-23633
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                      SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no codebtors.

                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR


                                                                     Ms. Renovator, LLC                                                                        LTD Financial Services L.P.
                                                                     3604 Cameron Court                                                                        7322 Southwest Freeway
                                                                     Ellicott City, MD 21042                                                                   Suite 1600
                                                                                                                                                               Houston, TX 77074

                                                                                                                                                               M&T Bank
                                                                                                                                                               Ground Floor Recovery
                                                                                                                                                               1100 Wehrle Drive
                                                                                                                                                               Williamsville, NY 14221
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                                                                     B6I (Official Form 6I) (12/07)      Case 10-23633                 Doc 19          Filed 07/01/10               Page 12 of 14
                                                                     IN RE Johnson, Teresa P                                                                                              Case No. 10-23633
                                                                                                                               Debtor(s)                                                                                     (If known)

                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
                                                                     are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this form may differ from the current
                                                                     monthly income calculated on From 22A, 22B, or 22C.
                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Single                                      RELATIONSHIP(S):                                                                                             AGE(S):
                                                                                                                  Daughter                                                                                                     37




                                                                      EMPLOYMENT:                                            DEBTOR                                                                      SPOUSE
                                                                      Occupation                Real Estate Broker
                                                                      Name of Employer          Execuhomes Realty, Inc.
                                                                      How long employed         1 years
                                                                      Address of Employer       8830 Orchard Tree Lane
                                                                                                Towson, MD 21266

                                                                     INCOME: (Estimate of average or projected monthly income at time case filed)                                                           DEBTOR                            SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $               2,833.00 $
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                                                                     2. Estimated monthly overtime                                                                                            $                               $
                                                                     3. SUBTOTAL                                                                                                              $               2,833.00 $
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                               $
                                                                       b. Insurance                                                                                                           $                               $
                                                                       c. Union dues                                                                                                          $                               $
                                                                       d. Other (specify)                                                                                                     $                               $
                                                                                                                                                                                              $                               $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                      0.00 $
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $               2,833.00 $

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $               3,318.00 $
                                                                     8. Income from real property                                                                                             $               9,004.00 $
                                                                     9. Interest and dividends                                                                                                $                               $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                               $
                                                                     11. Social Security or other government assistance
                                                                       (Specify)                                                                                                              $                        $
                                                                                                                                                                                              $                        $
                                                                     12. Pension or retirement income                                                                                         $               3,106.00 $
                                                                     13. Other monthly income
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                                                                                                                                              $                               $

                                                                     14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $             15,428.00 $
                                                                     15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                         $             18,261.00 $

                                                                     16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
                                                                     if there is only one debtor repeat total reported on line 15)                                                                            $              18,261.00
                                                                                                                                                                                              (Report also on Summary of Schedules and, if applicable, on
                                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     None
                                                                     B6J (Official Form 6J) (12/07)      Case 10-23633                 Doc 19           Filed 07/01/10              Page 13 of 14
                                                                     IN RE Johnson, Teresa P                                                                                               Case No. 10-23633
                                                                                                                               Debtor(s)                                                                               (If known)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
                                                                     quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income allowed
                                                                     on Form22A or 22C.
                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $            6,099.00
                                                                         a. Are real estate taxes included? Yes  No
                                                                         b. Is property insurance included? Yes  No
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                                $              475.00
                                                                         b. Water and sewer                                                                                                                             $
                                                                         c. Telephone                                                                                                                                   $
                                                                         d. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                           $               75.00
                                                                     4. Food                                                                                                                                            $              275.00
                                                                     5. Clothing                                                                                                                                        $              225.00
                                                                     6. Laundry and dry cleaning                                                                                                                        $               50.00
                                                                     7. Medical and dental expenses                                                                                                                     $              400.00
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                                                                     8. Transportation (not including car payments)                                                                                                     $              300.00
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $               50.00
                                                                     10. Charitable contributions                                                                                                                       $
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                     $              106.00
                                                                         b. Life                                                                                                                                        $
                                                                         c. Health                                                                                                                                      $
                                                                         d. Auto                                                                                                                                        $              200.00
                                                                         e. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify)                                                                                                                                      $
                                                                                                                                                                                                                        $
                                                                     13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                        $
                                                                         b. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                               $
                                                                     15. Payments for support of additional dependents not living at your home                                                                          $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $
                                                                     17. Other Mortgages On Investment Property                                                                                                         $           10,587.00
                                                                                                                                                                                                                        $
                                                                                                                                                                                                                        $

                                                                     18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
                                                                     applicable, on the Statistical Summary of Certain Liabilities and Related Data.                                                                    $           18,842.00

                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Average monthly income from Line 15 of Schedule I                                                                                           $           18,261.00
                                                                         b. Average monthly expenses from Line 18 above                                                                                                 $           18,842.00
                                                                         c. Monthly net income (a. minus b.)                                                                                                            $             -581.00
                                                                                                       Case 10-23633
                                                                     B6 Declaration (Official Form 6 - Declaration) (12/07)            Doc 19          Filed 07/01/10              Page 14 of 14
                                                                     IN RE Johnson, Teresa P                                                                                             Case No. 10-23633
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      22 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.


                                                                     Date: July 1, 2010                                   Signature: /s/ T. Johnson
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       T. Johnson

                                                                     Date:                                                Signature:
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
